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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE

UNSTOPPABLE DOMAINS INC.,     )
                              )
             Plaintiff,       )
                              )
         v.                   ) C.A. No. 22-948 (CFC)
                              )
GATEWAY REGISTRY, INC.,       )
JAMES STEVENS and DOES 1-100, )
                              )
             Defendants.      )

                           NOTICE OF DISMISSAL

            PLEASE TAKE NOTICE THAT, pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), Plaintiff Unstoppable Domains, Inc. hereby dismisses this action

without prejudice. Defendants in this action have not responded to the complaint or

filed a motion for summary judgment. Because Defendants have ceased registration

of .WALLET domains for nearly a year after this case was filed, the pending requests

for relief against Gateway Registry, Inc. and James Stevens appear moot.

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July 3, 2023




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                           CERTIFICATE OF SERVICE

       I hereby certify that on July 3, 2023, I caused the foregoing to be electronically

filed with the Clerk of the Court using CM/ECF, which will send notification of such

filing to all registered participants.

       I further certify that I caused copies of the foregoing document to be served

on July 3, 2023, upon the following in the manner indicated:

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